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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                          CV 15-138 RB/WPL
                                                            CR 12-3186 RB
HECTOR RUIZ,
a/k/a ARTURO RUIZ,

               Defendant.


      ORDER ADOPTING MAGISTRATE JUDGE’S PROPOSED FINDINGS AND
                     RECOMMENDED DISPOSITION

       This matter is before the Court on the Magistrate Judge’s Proposed Findings and

Recommended Disposition (PFRD), filed August 11, 2015. (Doc. 7.) The parties were notified

that objections were due within fourteen days of service of the PFRD and that if no objections

were filed, no appellate review would be allowed. To this date, no objections have been filed.

       IT IS THEREFORE ORDERED that:

       1) the PFRD is adopted as an order of the Court;

       2) the Application for a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2255 by a Person

in Federal Custody is denied;

       3) this cause is dismissed with prejudice; and

       4) a certificate of appealability is denied.



                                                      _________________________________
                                                      UNITED STATES DISTRICT JUDGE
